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                         UNITED STATES DISTRICT COURT
1                      EASTERN DISTRICT OF PENNSYLVANIA
2
     UNITED STATES OF AMERICA,   .     Case No. 2:15-cr-00171-MMB-1
3                                .
                Plaintiff,        .    U.S. Courthouse
4
            v.                    .    601 Market Street
5                                .     Philadelphia, PA 19106
     KEONNA THOMAS,               .
6                                .
                Defendant.        .    August 20, 2015
7                                .     2:02 p.m.
8    . . . . . . . . . . . . . . ..

9                      TRANSCRIPT OF PRETRIAL HEARING
                  BEFORE THE HONORABLE MICHAEL M. BAYLSON
10                   UNITED STATES DISTRICT COURT JUDGE
     APPEARANCES:
11
     For the Plaintiff:               JENNIFER A. WILLIAMS, ESQ.
12                                    U.S. ATTORNEY'S OFFICE
                                      615 Chestnut Street
13                                    Suite 1250
                                      Philadelphia, Pennsylvania 19106
14
15 For the Defendant:                 JAMES J. McHUGH, JR., ESQ.
                                      DEFENDER ASSOCIATION OF
16                                    PHILADELPHIA
                                      601 Walnut Street
17                                    Suite 540 West - Curtis Building
                                      Philadelphia, Pennsylvania 19106
18
19                                    KATHLEEN M. GAUGHAN, ESQ.
                                      FEDERAL DEFENDERS OFFICE
20                                    601 Walnut Street
                                      Philadelphia, Pennsylvania 19106
21
22 Audio Operator:                    JANICE LUTZ

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                                  Suite 2406
25
                                  Aventura, Florida 33160
               Proceedings recorded by electronic sound
       recording, transcript produced by transcription service.
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 1             THE COURT:    Okay.   Good afternoon.
 2             MS. WILLIAMS:    Good afternoon, your Honor.
 3             MR. McHUGH:    Good afternoon, your Honor.
 4             MS. GAUGHAN:    Good afternoon, your Honor.
 5             THE COURT:    Okay.   Please be seated.
 6             We're here for a pretrial hearing in United States versus
 7 Keonna Thomas, criminal number 2015-171.         Present is Jennifer
 8 Williams for the United States, and for the defendant Jim McHugh
 9 and Kathleen Gaughan, and present also is the defendant, Ms. Thomas.
10             This is an initial pretrial conference for me in this
11 case, and the government has prepared a proposed scheduling order,
12 which I understand was circulated to defense counsel, and Mr.
13 McHugh or Ms. Gaughan, I'd like to know what your points are,
14 whether you agree or disagree.
15             MR. McHUGH:   Your Honor, we advised the government earlier
16 today that we have -- we're in agreement with the dates.           Just
17 one thing I would point out is that the government advised us
18 in writing that it's their intention to provide almost all of
19 the discovery in the very near future.        The date we've agreed to
20 for the completion of discovery is not until March.
21             The government advised us that they need that amount
22 of time because of the classified discovery, but that we are --
23 it's their intention to get us the vast amount of discovery in
24 the very near future.      So that discovery date, based on that
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 1 representation by the government, is good with us.
 2             THE COURT:    Okay.   All right.
 3             Ms. Williams, anything you want to add?
 4             MS. WILLIAMS:    That is -- that was my representation,
 5 and it absolutely remains my intent, your Honor.          Thank you.
 6             THE COURT:    All right.   Now, this is a scheduling order
 7 that carries us through to a trial date of June 1st, 2016.         It's
 8 a little -- I don't see any reason why the trial can't start on
 9 that date, but we all know that things can happen between now
10 and then in terms of the case and so forth that, you know, the
11 Court's open if anybody thinks there should be a trial before
12 that or after that, I'm happy to consider that, but generally
13 -- not generally, but specifically you're in agreement with all
14 the other dates and provisions here?
15             MR. McHUGH:    That's correct, your Honor.
16             THE COURT:    Okay.   All right.   Is there anything else
17 anybody wants to bring up at this time?
18             MS. WILLIAMS:    Not from the government, your Honor.
19             MS. GAUGHAN:    Not from the defense, your Honor.
20             THE COURT:    Okay.   All right.   Then I'm going to sign
21 the order right now, and this is a public document.           This will
22 be docketed, correct?
23             MS. WILLIAMS:    Yes, your Honor.
24             THE COURT:    Okay.   Thank you very much for coming in.
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 1   Have a nice Summer for what's left of it, and I guess the -- I
 2 will probably schedule, if there are pretrial motions challenging
 3 the indictment, I will probably schedule oral argument, but that
 4 probably would not be until December or perhaps even later than
 5 that.
 6             All right.    If at any time any of you need a pretrial
 7 conference for anything, please call my deputy, Janice Lutz, and
 8 we'll arrange it probably on the record, and whether it be by
 9 phone or in person depending on the circumstances.           Okay?
10             All right.    Thanks for coming in.
11             MS. WILLIAMS:    Thanks for coming in.
12             MR. McHUGH:    Thank you, your Honor.
13             MS. GAUGHAN:    Thank you, your Honor.
14             THE COURT:    Court's adjourned.
15                 (Proceedings concluded at 2:06 p.m.)
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 3                       C E R T I F I C A T I O N
 4
 5 I, Catherine Aldrich, court approved transcriber, certify that
 6 the foregoing is a correct transcript from the official electronic
 7 sound recording of the proceedings in the above-entitled matter,
 8 and to the best of my ability.
 9
10
11
12
13                                       DATE:       November 17, 2017
